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 8   Attorneys for Defendants
     SAN MATEO COUNTY and DEPUTY CHRIS LAUGHLIN
 9
10                              UNITED STATES DISTRICT COURT

11                             NORTHERN DISTRICT OF CALIFORNIA

12

13   RICHARD EARL MAY,                                 Case No. 3:16-cv-00252 LB

14               Plaintiffs,                           DEFENDANTS’ SEPARATE PROPOSED
                                                       COURT VOIR DIRE
15         vs.

16   SAN MATEO COUNTY, a public entity, DEPUTY
     CHRIS LAUGHLIN, and DOES 1 through 10,
17   individually, Jointly and Severally,

18
                 Defendants.
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                               DEFENDANTS’ SEPARATE PROPOSED COURT VOIR DIRE
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 1   BACKGROUND
 2   Defendants’ suggested revisions to plaintiff’s proposed voir dire:
 3   Do you know any current or former employee of San Mateo County, including any member of the Board
           of Supervisors?
 4
     Have you or anyone close to you ever worked for San Mateo County? If so, who, when, where, and in
 5         what capacity?

 6   Defendants’ additional proposed voir dire:
 7   Do you know any current or former employee of the law firm Haddad and Sherwin?

 8   Do you know anyone who has retained Haddad and Sherwin as their law firm/attorney?

 9   Have you read any newspaper articles or seen any other media reports about this case or the underlying
           incident involving Mr. May and a Sheriff’s K-9 in Half Moon Bay on January 1, 2015?
10
     Do you own a business?
11
     Do you own a home?
12
     Do you own a gun?
13
     Do you understand this is not a criminal case and different standards and burdens of proof apply?
14
     Do you understand that, just because Plaintiff has sued Defendants, it does not necessarily mean
15         Defendants are liable? And do you also understand Defendants have the right to assert certain
           defenses? One of those defenses might be that Plaintiff was to blame for his own injuries; does
16         that trouble you?
17   LEGAL SYSTEM
18   Defendants’ additional proposed voir dire:
19   Do you think there are too many, too few or about the right number of lawsuits?

20   Do you think the justice system is fair?
21   LAW ENFORCEMENT AND SECURITY EXPERIENCE AND TRAINING
22   Defendants’ suggested revisions to plaintiff’s proposed voir dire:
23   Have you ever received any education or training in criminal justice, law enforcement, corrections, or
     security? If so, please explain.
24
     Defendants’ additional proposed voir dire:
25
     Do you think police officers have an important role in your community?
26
     Would you call the police if you saw a crime happening?
27
     Have you or any family members or friends had any experiences with law enforcement that would lead
28         you to have a favorable or unfavorable view of the police? If so, explain.

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                                 DEFENDANTS’ SEPARATE PROPOSED COURT VOIR DIRE
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 1   Are you or is anyone close to you a member or participant in any organizations or groups concerned with
            police misconduct?
 2
     POLICE AND CLAIMS AGAINST POLICE
 3
     Defendants’ suggested revisions to plaintiff’s proposed voir dire:
 4
     How do you feel about people who file lawsuits for money damages because they claim to have been
 5         injured by the police?

 6   DOG BITE KNOWLEDGE AND EXPERIENCE
 7   Defendants’ suggested revisions to plaintiff’s proposed voir dire:
 8   Have you or has anyone close to you, either a family member or friend, been bitten by a dog? If so,
           please explain.
 9
     Defendants’ additional proposed voir dire:
10
     Have you ever trained dogs? If so, please explain.
11
     Have you ever trained a dog? If so, please explain.
12
     Do you, or have you ever, had a dog as a pet?
13
     Do you have a fear of dogs?
14

15   DAMAGES
16   Defendants’ suggested revisions to plaintiff’s proposed voir dire:
17   Do you understand that our system of justice allows you to award Plaintiff money damages only if he
           meets his burden of proof?
18
     What are your thoughts about punitive damages, which are meant to punish a defendant and deter similar
19         unlawful conduct in the future?

20   Defendants’ additional proposed voir dire:
21   If Plaintiff does not meet his burden of proof, would you be willing to return a verdict against him even if
             he was injured?
22
     If Plaintiff meets his burden of proof in this case, would you be willing to award damages against a
23           police officer?
24   What do you think about lawsuits against government entities? Counties?
25   Do you think there are cases where large amounts of money damages are justified? Why or why not? In
           what types of cases might a large amount of money damages be justified?
26
     Do you understand that just because Plaintiff is asking for punitive damages in this case, it does not
27         necessarily mean the Defendants have done anything wrong?

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                                 DEFENDANTS’ SEPARATE PROPOSED COURT VOIR DIRE
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 1   Dated: April 28, 2017                            JOHN C. BEIERS, COUNTY COUNSEL

 2

 3                                                    By:
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 4                                                          Brian E. Kulich, Deputy
 5                                                          Margaret V. Tides, Deputy

 6                                                    Attorneys for Defendants
                                                      SAN MATEO COUNTY and DEPUTY CHRIS
 7                                                    LAUGHLIN

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                               DEFENDANTS’ SEPARATE PROPOSED COURT VOIR DIRE
